Case 07-11047-CSS Doc 9591-2 Filed 12/22/10 Page 1of2

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

x Chapter 11
In re: :

Case No. 07-11047 (CSS)
AMERICAN HOME MORTGAGE :
HOLDINGS, INC., a Delaware corporation, et al.,! : Jointly Administered
Debtors REF. DOCKET NO.

x

ORDER AUTHORIZING THE PLAN TRUSTEE TO RETURN
OR DESTROY ANY AND ALL HARD COPY LOAN FILES

Upon consideration of Motion for an Order Pursuant to I] U.S.C. $$ 105, 363
and 554 Authorizing the Plan Trustee to Return or Destroy Any and All Hard Copy Loan Files
(the “Motion”);’ and it appearing that the Court has jurisdiction over this matter pursuant to 28
U.S.C. §§ 157 and 1334; and the Court finding good and sufficient cause to grant the Motion,
and good and adequate notice of the Motion having been given, it is hereby

ORDERED that the Motion is granted; and it is further

ORDERED that any objections to the Motion not otherwise withdrawn or
resolved ace OVERRULED; and it is further

ORDERED that the Plan Trustee is authorized to return or destroy any and all
Hard Copy Loan Files in accordance the Return Protocol set forth in the Disposition Orders; and

it is further

! The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
number, are: American Home Mortgage Holdings, Inc. (6303); American Home Mortgage Investment Corp., a
Maryland corporation (3914); American Home Mortgage Acceptance, Inc., a Maryland corporation (1979); AHM
SV, Inc. f/k/a American Home Mortgage Servicing, Inc. (“AHM SV”), a Maryland corporation (7267), American
Home Mortgage Corp, a New York corporation (1558); American Home Mortgage Ventures LLC, a Delaware
limited liability company (1407); Homegate Settlement Services, Inc., a New York corporation (7491); and Great
Oak Abstract Corp., a New York corporation (8580). The address for all of the Debtors is 538 Broadhollow Road,
Melville, New York 11747.

2 Unless otherwise defined herein, all capitalized terms shall have the meanings ascribed to them in the
Motion.

YCSTO01:9813373.5 066585.1001
Case 07-11047-CSS Doc 9591-2 Filed 12/22/10 Page 2 of 2

ORDERED that collateral documents (i.e., original note, mortgage copy (recorded
mortgage if received from the applicable recording agency), title insurance (binder or
commitment); related addenda to mortgage or note; and paper assignments) (the “Collateral
Documents”) shall continue to be maintained by the respective custodian; and it is further

ORDERED that, in the event that the Plan Trustee discovers any original
Collateral Documents in the Hard Copy Loan Files during their review of such files pursuant to
this Order or other order of the Court, the Plan Trustee shall forward such Collateral Documents
to the respective custodian; and it is further

ORDERED that nothing herein shall be deemed to be an authorization to destroy
or otherwise dispose of documents relating to pending or threatened litigation against the
Debtors or unresolved claims filed against the Debtors’ estates; and it is further

ORDERED that this Court shall retain jurisdiction over all affected parties with
respect to any matters, claims, or rights arising from or related to the implementation and
interpretation of this order.

Dated: , 2011
Wilmington, Delaware

The Honorable Christopher S. Sontchi
United States Bankruptcy Judge

15
YCST01:9813373.5 066585.1001
